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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 REBECCA SIMONTON,                           §
 Plaintiff                                   §
                                             §
 v.                                          §        CIVIL ACTION NO. 4:23-CV-02184
                                             §
 HOUSTON METHODIST                           §
 CONTINUING CARE HOSPITAL,                   §
 Defendant                                   §

                       NOTICE OF APPEARANCE OF
                  MICHELLE N. MATHEWS FOR DEFENDANT

       Defendant, Houston Methodist Continuing Care Hospital (“Houston Methodist”)

notifies the Court and Plaintiff of the appearance of its counsel and requests that she be

provided with notice by electronic means of any and all documents filed in this case:

Michelle N. Mathews
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       Daniel Patton shall remain attorney in charge for Defendant.

                                                 Respectfully submitted,

                                                 By: /s/ Daniel Patton
                                                     Daniel Patton
                                                     Federal Bar No. 26200
                                                     Texas Bar No. 24013302
                                                     dpatton@scottpattonlaw.com

                                                    ATTORNEY IN CHARGE FOR DEFENDANT
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OF COUNSEL:

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                               CERTIFICATE OF SERVICE

      I certify that on June 22, 2023, a true and correct copy of Notice of Appearance of Michelle
N. Mathews for Defendant was served on all counsel of record by the Court’s ECF filing system.

                                         Audia Jones
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                                       Attorney for Plaintiff


                                                  /s/ Daniel Patton
                                                  Daniel Patton




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